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                                                                            U.S. DISTRICT COURT


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Attorneys for Lead Plaintiff

                            UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION

IN RE POLARITYTE, INC. SECURITIES               Master File No. 2:18-cv-510-JNP
LITIGATION                                      (Consolidated with 2:18-cv-514-DB)

This Document Relates To:                       ORDER GRANTING MOTION FOR PRO
                                                HAC VICE ADMISSION OF VERONICA
All Actions                                     MONTENEGRO

                                                Honorable Jill N. Parrish



       It appearing to the Court that Petitioner meets the pro hac vice admission requirements of

DUCiv R 83-1.1(d), the motion for the admission pro hac vice of Veronica Montenegro in the

United States District Court, District of Utah in the subject case is GRANTED.


Dated: this 13th day of February, 2019.


                                                    _________________________________
                                                     Jill N. Parrish
                                                     U.S. District Judge
